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                            United States District Court
                            Eastern District of Michigan
                                 Southern Division


United States of America,

             Plaintiff,                       Criminal No. 19-cr-20026
v.
                                              Hon. Gershwin A. Drain
D-1 Bharath Kakireddy,

             Defendant.


                          Preliminary Order of Forfeiture



      Based on the Indictment, the Forfeiture Bill of Particulars, the Second

Forfeiture Bill of Particulars, Defendant’s guilty plea, the record from the plea

hearing, the United States’ Application for Entry of Preliminary Order of

Forfeiture, and other information in the record, and pursuant to 18 U.S.C.

§ 982(a)(6) and 18 U.S.C. § 981(a)(1)(C) together with 28 U.S.C. § 2461(c), IT IS

HEREBY ORDERED AND ADJUDGED THAT:

      Defendant Bharath Kakireddy (“Defendant”) shall forfeit to the United

States any property involved in his violation of Count One of the Indictment in

violation of 18 U.S.C. § 371 pursuant to 18 U.S.C. § 982(a)(6) and/or 18 U.S.C.

§ 981(a)(1)(C), together with 28 U.S.C. § 2461(c).
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      Defendant shall forfeit to the United States Forty-five dollars and ten cents

($45.10) U.S. Currency seized from Bank of America Account Number

XXXXXXXX0175 in the name of Bharath Kakireddy. (Hereinafter “Subject

Property.)

      A forfeiture money judgment is granted and entered against Defendant in

favor of the United States in the amount of $32,454.90, which is an amount that

constitutes, or was derived from, gross proceeds obtained, directly or indirectly,

from Defendant Kakireddy’s violation of Count One of the Indictment.

      The money judgment may be satisfied, to whatever extent possible, from any

property owned or under the control of Defendant. To satisfy the money judgment,

any assets that Defendant has now, or may later acquire, may be forfeited as

substitute assets under 21 U.S.C. § 853(p) as incorporated by 18 U.S.C. § 982(b),

up to the value of the forfeitable property.

      Pursuant to 18 U.S.C. § 982(a)(6) and 18 U.S.C. § 981(a)(1)(C) together

with 28 U.S.C. § 2461(c), the Subject Property IS FORFEITED to the United

States for disposition according to law, and any right, title or interest of Defendant,

and any right, title or interest that his heirs, successors, or assigns have, or may

have, in the Subject Property is HEREBY AND FOREVER EXTINGUISHED.




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   THIS COURT FURTHER ORDERS that upon entry of this Preliminary Order

of Forfeiture, the United States Attorney General or his designee is authorized to

commence any applicable proceeding to comply with the statutes governing third

party rights, including giving notice of this Order.

   Specifically, upon entry of this Preliminary Order of Forfeiture and pursuant to

21 U.S.C. § 853(n), Rule 32.2 of the Federal Rules of Criminal Procedure, and

other applicable rules, the United States shall publish notice of this Preliminary

Order of Forfeiture and of its intent to dispose of the Subject Property on

www.forfeiture.gov, for at least thirty consecutive days. The United States may

also, to the extent practicable, provide direct written notice to any person or entity

known to have an alleged interest in any of the Subject Property. Said notice shall

direct that any person, other than Defendant, asserting a legal interest in any of the

Subject Property must file a petition with the Court within thirty (30) days of the

final publication of notice or of receipt of actual notice, whichever is earlier. The

petition shall be for a hearing before the Court alone, without a jury, and in

accordance with 21 U.S.C. § 853(n), to adjudicate the validity of the petitioner’s

alleged interest in any identified items of Subject Property. Any petition filed by a

third party asserting an interest in any of the Subject Property must be signed by

the petitioner under penalty of perjury and must set forth the nature and extent of

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the petitioner’s alleged right, title or interest in the Subject Property, the time and

circumstances of the petitioner’s acquisition of the right, title, or interest in the

Subject Property, any additional facts supporting the petitioner’s claim, and the

relief sought.

      THIS COURT FURTHER ORDERS that after the disposition of any motion

filed under Federal Rule of Criminal Procedure 32.2(c)(1)(A) and before a hearing

on any ancillary petition, the United States may conduct discovery in accordance

with the Federal Rules of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues in the ancillary proceeding.

      THIS COURT FURTHER ORDERS that this Preliminary Order of

Forfeiture shall become final as to Defendant at sentencing and forfeiture of the

Subject Property shall be made part of Defendant’s sentence and included in his

Judgment.

      THIS COURT FURTHER ORDERS that if no third party files a timely

petition before the expiration of the period provided in 21 U.S.C. § 853(n)(2), then

this Preliminary Order of Forfeiture shall automatically become the Final Order of

Forfeiture in this action. If one or more third parties file timely petition(s) for the

Subject Property, the Court shall enter an Amended Order of Forfeiture that




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addresses the disposition of the third party petition(s) as provided under Federal

Rule of Criminal Procedure 32.2(c)(2).

      THIS COURT FURTHER ORDERS that when this Order or an Amended

Order becomes final as to all parties, the United States shall have clear title to the

Subject Property as provided under 21 U.S.C. § 853(n)(7) and Federal Rule of

Criminal Procedure 32.2(c)(2) and shall be authorized to dispose of the Subject

Property as prescribed by law.

      THIS COURT FURTHER ORDERS that it retains jurisdiction to enforce

this Preliminary Order of Forfeiture and to amend it as necessary, pursuant to

Federal Rule of Criminal Procedure 32.2(e).

IT IS SO ORDERED.

Dated: August 21, 2019           s/Gershwin A. Drain
                                 HONORABLE GERSHWIN A. DRAIN
                                 United States District Court Judge




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